                             UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF NEW HAMPSHIRE

 COALITION FOR OPEN DEMOCRACY,
 et al.,
        Plaintiffs,

        v.                                                         Case No. 1:24-cv-00312-SE-TSM

 DAVID M. SCANLAN, in his official capacity
 as New Hampshire Secretary of State, et al.,
        Defendants.


             DEFENDANTS’ AMENDED OBJECTION TO MOTION TO COMPEL
             THE STATEWIDE VOTER DATABASE & RELATED DOCUMENTS

         NOW COME Defendants New Hampshire Secretary of State David M. Scanlan and New

Hampshire Attorney General John M. Formella (collectively, the “Defendants”), by and through

their counsel, the Office of the Attorney General, and amends and supersedes their Objection

(ECF No. 69) to Plaintiffs’ Motion to Compel the Statewide Voters Database & Related

Documents (ECF No. 60), 1 and state as follows:

                                             INTRODUCTION

         Defendants cannot produce New Hampshire’s Statewide Voter Registration System

(“SVRS”). Pursuant to the authority conferred to it under federal law, New Hampshire chooses

the methods to implement its SVRS, and New Hampshire has chosen to protect its database from

disclosure. State-based SVRS implementation is an integral part of the Help America Vote Act’s

(“HAVA”) cooperative federalism statutory scheme. Moreover, the SVRS is critical

infrastructure. Disclosing physical and virtual critical infrastructure to third parties would


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       In addition to providing two supporting affidavits, Defendants offer this Amended Objection to correct a
factual inaccuracy on page 12 of ECF No. 69 (the original Objection) regarding Qualified Voter and Challenged
Voter Affidavit data maintained by the SVRS.
frustrate the purpose of the Homeland Security Act and unnecessarily expose New Hampshire’s

election systems to cybersecurity threats.

       Federal and state law prohibiting SVRS disclosure notwithstanding, the Federal Rules

also prohibit SVRS disclosure. Plaintiffs’ request exceeds the permissible scope of discovery

because it is neither relevant to claims or defenses, nor is it proportional to the needs of this case.

For these reasons, and as more fully articulated below, the Court should deny Plaintiffs’ Motion

to Compel.

                      DEFENDANTS’ JURISDICTIONAL OBJECTION

       Defendants’ Motion to Dismiss, which asserts that Plaintiffs do not have standing to

challenge House Bill 1569 (“HB 1569”), is currently pending before the Court. ECF No. 36.

This Objection to Plaintiffs’ Motion to Compel the Statewide Voter Database & Related

Documents does not waive Defendants’ contention that the Court does not have subject-matter

jurisdiction in this case. And since “[t]he Court’s power to order discovery is circumscribed by

its jurisdiction; where it has no jurisdiction, it has no power, and cannot order discovery.” Savis,

Inc. v. Warner Lambert, Inc., 967 F. Supp. 632, 641 (D.P.R. 1997) (citing Stoll v. Gottlieb, 305

U.S. 165, 171-172 (1938)); Shirley v. Maxicare Tex., Inc., 921 F.2d 565, 568 (5th Cir. 1991)

(“Unless a federal court possesses subject matter jurisdiction over a dispute, therefore, any order

it makes (other than an order of dismissal or remand) is void.”) (cited by Christopher v. Stanley-

Bostitch, Inc., 240 F.3d 95, 100 (1st Cir. 2001)). Accordingly, the Court should defer ruling on

Plaintiffs’ Motion to Compel until the Court grants or denies Defendants’ Motion to Dismiss.

                                    STANDARD OF REVIEW

       Under the Federal Rules of Civil Procedure, parties may obtain discovery regarding any

non-privileged matter that is relevant to claims or defenses and proportional to the needs of the

case. Fed. R. Civ. P. 26(b)(1). “The movant bears the initial burden of proving that the

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information it seeks is relevant for the purposes of discovery.” Fraser Eng’g Co. v. IPS-

Integrated Project Servs., No. 17-cv-102-JD, 2018 U.S. Dist. LEXIS 110312, at *3–4 (D.N.H.

Jan. 22, 2018) (citing Fed. R. Civ. P. 26(b)(1)).

        A matter is relevant if it bears on or could reasonably lead to another matter that could

bear on an issue in the lawsuit. See Bonner v. Triple S Mgmt. Corp., 68 F.4th 677, 685 (1st Cir.

2023) (noting that the right to discovery is limited by relevancy). Relevance should be broadly

construed, but a “speculative or attenuated connection between materials sought and claims or

defenses [is] insufficient to establish relevance under Rule 26(b)(1).” Estate of Lawrence v.

Lavoie, No. 14-cv-570-PB, 2017 U.S. Dist. LEXIS 230031, at *9 (D.N.H. July 25, 2017)

(quotations and citation omitted). The proportionality analysis considers factors such as the

importance of the issues at stake, the amount in controversy, the parties’ relative access to

relevant information, the parties’ resources, the importance of the requested discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit. Fed. R. Civ. P. 26(b)(1).

                                    STATEMENT OF FACTS

        New Hampshire’s Statewide Voter Registration System is a computerized statewide voter

registration list required by federal law. 52 U.S.C. § 21083. It is a single, uniform, official,

centralized, interactive computerized statewide voter registration list defined, maintained, and

administered by the Secretary of State, containing the name and registration information of every

legally registered voter in the state, identifying each legally registered voter with a unique

identifier. 52 U.S.C. § 21083(a)(1)(A). It is a database and communications system accessed by

local election officials throughout the state, limited to each local election official’s jurisdiction.

RSA 654:45, I(a) & II. It includes information reflected on voter registration forms, accepted

absentee ballot applications, voter checklists, and voter actions as recorded on the marked
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checklist maintained by each city, ward, and town. Id. The SVRS is an integral part of the

Secretary’s duty to maintain a secure verification process that ensures voters sharing a place and

date of birth, along with a substantially similar name (including nicknames or likely name

changes), are unique voters. See RSA 654:45, I-V.

                                          ARGUMENT

       The Court’s lack of subject-matter jurisdiction to compel disclosure of New Hampshire’s

Statewide Voter Registration System notwithstanding, the Court should deny Plaintiffs’ Motion

to Compel for three reasons. First, the Help America Vote Act’s cooperative federalism

statutory scheme prohibits disclosure of the SVRS. Second, the SVRS is critical infrastructure

that cannot be disclosed. Third, even if federal and state law do not exempt the SVRS from

disclosure, Plaintiffs’ request for production of the SVRS exceeds the scope of discovery

permitted by the Federal Rules of Civil Procedure.

I.     The Help America Vote Act’s Cooperative Federalism Statutory Scheme Prohibits
       Disclosure of New Hampshire’s Statewide Voter Registration System

       HAVA prohibits disclosure of New Hampshire’s SVRS. Federalism divides and shares

authority between federal and state governments. In the realm of election law, concurrent and

complementary federal and state authority is the norm. The Help America Vote Act expressly

authorizes states to choose methods to implement minimum voting system standards for use in

federal elections. Pursuant to this authority, New Hampshire has chosen to protect its SVRS

from disclosure in litigation. This statutory exemption is not a rule of procedure—it is an

integral part of Congress’s cooperative federalism statutory scheme. Accordingly, the Court

cannot abrogate New Hampshire’s substantive right to implement federal election standards.




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       A.       Federal and State Sovereigns Share Constitutional Authority Over Elections

       Dual sovereignty is a hallmark of the United States system of government. The

Federalist No. 51 (James Madison) (“In the compound republic of America, the power

surrendered by the people is first divided between two distinct governments, and then the portion

allotted to each subdivided among distinct and separate departments.”). In New Hampshire,

       [t]he people of this State have the sole and exclusive right of governing themselves
       as a free, sovereign, and independent State; and do, and forever hereafter shall,
       exercise and enjoy every power, jurisdiction, and right, pertaining thereto, which is
       not, or may not hereafter be, by them expressly delegated to the United States of
       America in Congress assembled.

N.H. Const. pt. I, art. 7; accord U.S. Const. amend. IX (“The enumeration in the Constitution, of

certain rights, shall not be construed to deny or disparage others retained by the people.”). New

Hampshire’s sovereignty is limited only by the Supremacy Clause of the United States

Constitution:

       [T]he Laws of the United States … shall be the supreme Law of the Land; and the
       Judges in every State shall be bound thereby, any Thing in the Constitution or Laws
       of any State to the Contrary notwithstanding.

U.S. Const. art. VI, cl. 2; Wyeth v. Levine, 555 U.S. 555, 584 (2009) (“[T]he States possess

sovereignty concurrent with that of the Federal Government, subject only to limitations imposed

by the Supremacy Clause.”) (citations and quotations omitted). This federalist system divides

and shares authority between federal and state governments. See Alden v. Maine, 527 U.S. 706,

714 (1999) (“[Federalism is] a system in which the State and Federal Governments would

exercise concurrent authority over the people[.]”) (citations and quotations omitted).

       Federal law may be supreme, but not every act of Congress preempts state law. See

Murphy v. NCAA, 584 U.S. 453, 477 (2018). Indeed, Congress often “divides responsibility for

complex regulatory schemes between states and the federal government[.]” See Budget Prepay,

Inc. v. AT&T Corp., 605 F.3d 273, 281 (5th Cir. 2010). There are numerous examples of this

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“cooperative federalism” in the United States Code, where Congress establishes standards but

states retain “latitude to proceed in any number of fashions,” if states’ choices are consistent with

federal priorities. Id. (quoting Phillip J. Weiser, Federal Common Law, Cooperative Federalism,

and Enforcement of the Telecom Act, 76 N.Y.U. L. REV. 1692, 1742-43 (2001)). “In other

words, cooperative federalism ‘best describes those instances in which a federal statute provides

for state regulation or implementation to achieve federally proscribed policy goals.’” Mass. v.

Sebelius, 701 F. Supp. 2d 182, 192 (D. Mass. 2010) (quoting Philip J. Weiser, Towards a

Constitutional Architecture for Cooperative Federalism, 79 N.C. L. Rev. 663, 668 (2001)).

       Many federal laws related to voting rights feature cooperative federalism. See, e.g.,

Colón-Marrero v. Vélez, 813 F.3d 1, 15 (1st Cir. 2016) (noting that HAVA requires state-based

administrative complaint procedures); Ariz. v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 12,

133 S. Ct. 2247, 2255 (2013) (noting that the National Voter Registration Act gives states “the

flexibility to design and use their own registration forms” where the federal form “provides a

backstop”). “Weighing the respective federal and state interests in the electoral context

represents a delicate endeavor because both sovereigns share constitutional authority over this

field.” Republican Nat’l Comm. v. N.C. State Bd. of Elections, 754 F. Supp. 3d 664 (E.D.N.C.

2024) (citing U.S. Const. art. I, § 4, cl. 1). HAVA’s cooperative federalism scheme balances

federal and state interests in regulating elections “by granting the states substantial discretion in

implementing their own ‘methods’ for ‘complying with the requirements’ of HAVA.” Id.

(quoting 52 U.S.C. § 21085).

       B.      The Help America Vote Act Authorizes States to Choose Methods of
               Implementing Statewide Voter Registration Systems

       Congress enacted HAVA to establish minimum state voting system standards for use in

federal elections. See 52 U.S.C. § 21081 (“Each voting system used in an election for Federal


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office shall meet the following requirements….”). So, states must implement voting systems to

ensure accountability, accessibility, voter privacy, and ballot confidentiality. See 52 U.S.C.

§ 21081(a). Among other things, HAVA mandates that states educate voters regarding voting

systems’ function and usage, allow voters to fix their mistakes and system errors, and ensure

vote count reliability and accuracy. See generally, 52 U.S.C. § 21081(a). HAVA also requires

states to develop and implement computerized statewide voter registration lists, commonly

referred to as SVRS:

       [E]ach State, acting through the chief State election official, shall implement, in a
       uniform and nondiscriminatory manner, a single, uniform, official, centralized,
       interactive computerized statewide voter registration list defined, maintained, and
       administered at the State level that contains the name and registration information
       of every legally registered voter in the State and assigns a unique identifier to each
       legally registered voter in the State[.]

See 52 U.S.C. § 21083(a)(1). HAVA’s computerized statewide voter registration list provision is

comprehensive. It details numerous general, maintenance, verification, and usage requirements.

See 52 U.S.C. § 21083(a)-(c). It also mandates that the “appropriate State or local official shall

provide adequate technological security measures to prevent the unauthorized access to the

computerized list[.]” 52 U.S.C. § 21083(a)(3). An integral part of HAVA’s statutory scheme,

however, is delegation of implementation strategies to the state: “The specific choices on the

methods of complying with the requirements of this title shall be left to the discretion of the

State.” 52 U.S.C. § 21085 (emphasis added).

       C.      Pursuant to the Authority Conferred to New Hampshire by the Help
               America Vote Act, New Hampshire Prohibits Disclosure of Its Statewide
               Voter Registration System

       HAVA articulates clear federally proscribed policy goals, while reserving to New

Hampshire wide latitude to proceed in any fashion it chooses that is consistent with HAVA’s

priorities. See 52 U.S.C. §§ 21084, 21085. The discretionary methods the state uses to meet or


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exceed HAVA’s standards are codified in the New Hampshire Revised Statutes Annotated

Chapter 654. Under New Hampshire law:

       [t]he secretary of state is authorized to plan, develop, equip, establish, site, and
       maintain a statewide centralized voter registration database and communications
       system, hereinafter referred to as the voter database, connecting users throughout
       the state.

RSA 654:45, I(a).

       Two federal policy priorities are relevant to the Court’s consideration of Plaintiffs’

Motion to Compel. First, HAVA requires state voting systems to “preserve[] the privacy of the

voter and the confidentiality of the ballot.” 52 U.S.C. § 21081(a). Second (and relatedly),

HAVA requires states to “provide adequate technological security measures to prevent the

unauthorized access to the computerized list[.]” 52 U.S.C. § 21083(a)(3). To implement these

federal priorities, New Hampshire chose an unequivocal method:

       The voter database shall be private and confidential and shall not be subject to
       RSA 91-A and RSA 654:31, nor shall it or any of the information contained therein
       be disclosed pursuant to a subpoena or civil litigation discovery request.

RSA 654:45, VI. New Hampshire’s authorized election officials may access the SVRS, but only

within that election official’s jurisdiction. RSA 654:45, II. Even the SVRS access point is

carefully circumscribed to ensure cybersecurity. Id. (restricting the “database access point” to

the town or city clerk’s office unless the Secretary of State expressly authorizes additional access

points in a town or city, “including election day access points at polling places.”). Indeed, voter

privacy and confidentiality are so fundamental to New Hampshire’s implementation of HAVA’s

computerized statewide voter registration list, that unauthorized disclosure is criminal: “Any

person who discloses information from the voter database in any manner not authorized by this

section shall be guilty of a misdemeanor.” RSA 654:45, VI.




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       So, New Hampshire’s prohibition of SVRS disclosure in civil litigation cannot be severed

from HAVA as if it were an idiosyncratic state-based procedural privilege:

       The requirements established by this title [52 U.S.C. §§ 21081 et seq.] are minimum
       requirements and nothing in this title shall be construed to prevent a State from
       establishing election technology and administration requirements that are more
       strict than the requirements established under this title so long as such State
       requirements are not inconsistent with the Federal requirements under this title or
       any law described in section 906 [52 U.S.C. § 21145].

52 U.S.C. § 21084. Nondisclosure of New Hampshire’s SVRS is an integral part of the federal

statutory scheme to secure voting rights, protect election integrity, defend voter privacy, and

safeguard ballot confidentiality.

       D.      The Court’s Rules of Procedure and Evidence, if They Conflict with HAVA
               and New Hampshire Law, Must Yield to HAVA’s Statutory Scheme

       Plaintiffs ask the Court to order disclosure of the SVRS pursuant to Rule 26(b)(1) of the

Federal Rules of Civil Procedure, but the Court cannot grant Plaintiffs’ requested relief. The

Court’s rules of procedure and evidence must yield to HAVA’s prevailing statutory scheme and

the substantive rights Congress conferred upon New Hampshire through HAVA. The Federal

Rules carry the weight and supremacy of federal law because the Supreme Court promulgated

the Rules pursuant to the Rules Enabling Act. See 28 U.S.C. § 2072(a). The Federal Rules may

not, however, “abridge, enlarge or modify any substantive right.” 28 U.S.C. § 2072(b). So, the

“federal rules cannot displace a State’s definition of its own rights or remedies.” Shady Grove

Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 418 (2010) (Stevens, J., concurring)

(citing Sibbach v. Wilson & Co., 312 U.S. 1, 13-14 (1941)).

       For the reasons stated above, HAVA authorized New Hampshire to define its rights

regarding SVRS disclosure, and HAVA’s statutory scheme carves out an exception to the Rule

26(b)(1)’s disclosure requirements, if federal and state law conflict with Rule 26(b)(1). See

Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 401 (2010) (“Congress

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… has ultimate authority over the Federal Rules of Civil Procedure; it can create exceptions to an

individual rule as it sees fit—either by directly amending the rule or by enacting a separate

statute overriding it in certain instances.”). In other words, in the context of this lawsuit,

Rule 26(b)(1) does not “really regulate procedure[.]” See Shady Grove Orthopedic Assocs., P.A.

v. Allstate Ins. Co., 559 U.S. 393, 407 (2010) (cleaned up). HAVA’s requirements of privacy,

confidentiality, and security, as implemented by RSA 654:45, VI, is a rule of decision that

controls over the Federal Rules of Civil Procedure. See 28 U.S.C. § 1652.

II.     The Help America Vote Act and New Hampshire Law Notwithstanding, the
        Statewide Voter Registration System Is Critical Infrastructure that Cannot Be
        Disclosed to Third Parties

        State and local election infrastructure is a subsector of the government facilities

infrastructure. U.S. Dep’t of Homeland Security, Statement by Sec. Jeh Johnson on the

Designation of Election Infrastructure as a Critical Infrastructure Subsector (Jan. 6, 2017) (“DHS

CI Designation”). 2 “Critical infrastructure” is:

        a DHS designation established by the Patriot Act and given to systems and assets,
        whether physical or virtual, so vital to the United States that the incapacity or
        destruction of such systems and assets would have a debilitating impact on security,
        national economic security, national public health or safety, or any combination of
        those matters. Election systems meet this definition and must be secured to
        safeguard our Nation’s democratic process.

DHS Cybersecurity Services Catalog for Election Infrastructure at 3 (quotations omitted). 3 The

SVRS is critical infrastructure. See id. The Secretary cannot satisfy his obligation to protect

critical election infrastructure from cybersecurity threats if the SVRS is disclosed to third parties.




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       Available at https://www.dhs.gov/archive/news/2017/01/06/statement-secretary-johnson-designation-election-
infrastructure-critical.
     3
       Available at
https://www.eac.gov/sites/default/files/eac_assets/1/6/DHS_Cybersecurity_Services_Catalog_for_Election_Infrastru
cture.pdf

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Disclosure would frustrate the purpose of the Homeland Security Act and the work of the

Cybersecurity & Infrastructure Security Agency. See 6 U.S.C. § 481(b); 6 U.S.C. § 652(e).

III.   Alternatively, the Federal Rules of Civil Procedure Prohibit Disclosure of New
       Hampshire’s Statewide Voter Registration System

       Even were this Court to conclude that the Federal Rules govern over New Hampshire’s

implementation of HAVA’s computerized statewide voter registration list, Plaintiffs’ request

exceeds the permissible scope of discovery. The Federal Rules do not permit production of the

SVRS for at least three reasons. First, the SVRS exceeds the permissible scope of discovery

because it is irrelevant to claims or defenses. Second, even if the SVRS were relevant to claims

or defenses, disclosure is not proportionate to the needs of the parties in this case, as production

burdens on time and human and financial resources would substantially outweigh any likely

benefit. Third, even if Plaintiffs were able to identify some information in the SVRS that is

relevant, discoverable, and proportionate to the needs of the parties, Defendants should be

allowed to produce that information in an alternative manner without providing the Plaintiffs

access to the entire secure and confidential SVRS.

       A.      The Statewide Voter Registration System Does Not Contain Data Relevant to
               Claims or Defenses

       Plaintiffs assert three justifications for demanding production of the SVRS on relevancy

grounds, but these reasons either misconstrue that which they must prove to prevail at trial, or

Plaintiffs misunderstand the data maintained by the SVRS. First, Plaintiffs assert that the

database:

       will aid Plaintiffs in presenting a complete picture (with data) demonstrating the
       degree to which individuals who participated in New Hampshire elections prior to
       HB 1569 would have been impacted by HB 1569 had it been in effect in prior
       elections, and those who have been burdened by HB 1569 since its effective date
       on November 11, 2024.



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ECF No. 60 at 4-5. Such information is demonstrably irrelevant. At the merits stage, the Court

will weigh the character and magnitude of the purported injuries caused by the repeal of the

Qualified Voter and Challenged Voter Affidavits (“QVA” and “CVA”) to the Plaintiffs,

themselves. See ECF No. 1 at ¶¶ 92-122. This is not a class action—the only relevant burden to

weigh against the state’s interest is the burden experienced by each individual Plaintiff.

       Also, the SVRS does not indicate the “degree” to which prior registering voters “would

have been impacted by HB 1569” because it does not record whether a registrant would have

been equally as willing to provide reasonable documentation of his or her citizenship with his or

her application. It only reflects raw numbers. Regardless, the SVRS is both overinclusive and

underinclusive of this data. It is overinclusive because, in addition to QVA and CVA data, it has

private information such as names, addresses, birthdates, unique voter identifier numbers, birth

towns and states, naturalization courts and cities, absentee information, last four Social Security

numbers, voter telephone numbers and e-mail addresses, election histories, and more. It is

underinclusive because CVA data indicates whether a voter used a CVA to assert his or her

qualifications to vote, but it does not specifically indicate citizenship. And although QVA data

should include information regarding whether a voter used a QVA to prove citizenship, that data

is dependent upon a local election official’s proper use of a database field. So, even if it were

relevant (which it is not), the SVRS will not “assist Plaintiffs in identifying those who, before

HB 1569 went into effect, used the Qualified Voter Affidavit process to establish citizenship

when they registered to vote[.]” Contra ECF No. 60 at 5.

       Second, Plaintiffs assert that the “database is also critical to establishing the burdens that

have been imposed on voters since HB 1569 became effective on November 11, 2024.” Id.

Plaintiffs are seeking information regarding whether any qualified voter who attempted to



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register to vote in the March elections did not register because the voter lacked reasonable

documentation of citizenship. Id. at 5-6. The SVRS will not contain this information, as it only

contains data related to qualified registered voters.

       Third, Plaintiffs assert that the “database will also help Plaintiffs and this Court evaluate

the degree to which Challenged Voter Affidavits were used before HB 1569’s enactment.” Id.

at 6. Again, the degree to which CVAs were used by those who are not Plaintiffs in this case is

irrelevant because only the degree to which HB 1569 burdens the Plaintiffs is relevant to claims

and defenses. See ECF No. 1 at ¶¶ 100-122. Regardless (and contrary to Plaintiffs’ argument),

the SVRS is not “critical to evaluate the extent to which Challenged Voter Affidavits have been

used in the past[.]” ECF No. 60 at 6. If Plaintiffs can demonstrate a need and relevance for raw

numbers, the proper vehicle is an interrogatory, not an overinclusive request for production of

the entire database, which collects significantly more data than just affidavit use.

       B.      Production of the Entire Statewide Voter Registration Database and Its
               Legacy System Is Not Proportionate to the Needs of this Case

       Even to the extent that some data maintained in the SVRS might relate to claims or

defenses, New Hampshire’s SVRS contains private information that cannot be disclosed to

Plaintiffs. Access to the system is carefully circumscribed by statute and state agency practice to

ensure the confidentiality of private data and the cybersecurity of the voting system. Third party

access unnecessarily jeopardizes system integrity. A protective order is helpful and reduces risk,

but it does not sufficiently mitigate the risk inherent in allowing non-governmental access. The

menace of hackers, malware, and ransomware are very real, and they are not deterred by

protective orders. Moreover, production of the database prior to 2024 would require production

of New Hampshire’s legacy system, ElectioNet. It will take time to produce these databases, and




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this case does not have the luxury of time. Accordingly, producing these databases is not

proportional to the needs of this case as these burdens outweigh an unlikely marginal benefit.

       C.      Interrogatory Responses, Not Database Production, Is the Proper Vehicle
               Through Which to Provide Plaintiffs with the Information They Seek

       If the SVRS contains discoverable data within the scope of the Federal Rules, the Court

should limit discovery to sources that are more convenient, less burdensome, and less expensive.

Fed. R. Civ. P. 26(b)(2)(C)(i). Plaintiffs justify compelled SVRS disclosure because they want

to know how many people used affidavits prior to HB 1569. See ECF No. 60 at 3-4. This is

duplicative, in whole or in part, of Plaintiffs’ Interrogatory Nos. 1 (number of QVAs), 2 (number

of disqualified registrants who used QVAs), 4 (number of CVAs), and 5 (number of disqualified

voters who used CVAs). Subject to Defendants’ objections, Defendants have provided initial

responses and will supplement those responses when appropriate and available. Accordingly, the

Court should deny the Motion to Compel as duplicative and unnecessarily burdensome.

                                 REQUEST FOR A HEARING

       For the foregoing reasons, New Hampshire’s Statewide Voter Registration System cannot

be produced to third parties under any circumstance. The United States Department of

Homeland Security has designated election infrastructure as a subsector of existing government

facilities critical infrastructure. DHS CI Designation. Critical election infrastructure includes:

       storage facilities, polling places, and centralized vote tabulations locations used to
       support the election process, and information and communications technology to
       include voter registration databases, voting machines, and other systems to manage
       the election process and report and display results on behalf of state and local
       governments.

Id. Critical election infrastructure is a priority within the National Infrastructure Protection Plan,

and state and local governments are required to cooperate with Homeland Security to ensure the

system’s cybersecurity. Id. Defendants respectfully request an evidentiary hearing regarding the


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SVRS as critical election infrastructure. 4 An evidentiary hearing will enable Defendants to

explore precisely what information Plaintiffs seek and why they seek it, and Defendants will

offer Secretary Scanlan’s testimony regarding the state’s obligation to resist disclosure of this

critical infrastructure.

                                                CONCLUSION

         For the foregoing reasons, the Court should deny Plaintiffs’ Motion to Compel.

Defendants have attached the Secretary of State’s and the Elections Director’s affidavits to

support Defendants’ hearing request and to verify the accuracy of the foregoing information

regarding SVRS data.

                                                          Respectfully submitted,
                                                          DEFENDANTS DAVID M. SCANLAN, in his
                                                          official capacity as New Hampshire Secretary of
                                                          State and JOHN M. FORMELLA, in his official
                                                          capacity as New Hampshire Attorney General
                                                          By their attorney,
                                                          JOHN M. FORMELLA
                                                          ATTORNEY GENERAL

         Date: April 28, 2025                              /s/ Michael P. DeGrandis
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       Due to the highly sensitive nature of the testimony that could be presented at a hearing, Defendants reserve
the right to ask the Court to close the hearing (or portions of it) to the public if necessary.


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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all parties of record through
the Court’s e-filing system.


                                              /s/ Michael P. DeGrandis
                                              Michael P. DeGrandis




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